










Opinion issued May 1, 2008.













In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-07-00449-CR
____________

SHERMAN L. HARRIS, Appellant

V.

THE STATE OF TEXAS, Appellee




On Appeal from the 339th District Court
Harris County, Texas
Trial Court Cause No. 1053575&nbsp;



&nbsp;
MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant, Sherman L. Harris, has filed a motion to dismiss the above-referenced appeal.  The motion complies with the Texas Rules of Appellate
Procedure.  See Tex. R. App. P. 42.2(a).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We have not yet issued a decision.  Accordingly, we grant the motion and
dismiss the appeal. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We direct the clerk of this Court to issue the mandate.  Tex. R. App. P. 18.1.

PER CURIAM

Panel consists of Justices Nuchia, Hanks, and Keyes.

Do not publish.  Tex. R. App. P. 47.2(b).


